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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                    Plaintiff,                 )
                                               )                   8:06CR243
      vs.                                      )
                                               )                    ORDER
ANTONIO THOMAS,                                )
                                               )
                    Defendant.                 )


      On the court's own motion,

       IT IS ORDERED that Paragraph 3 of the September 14, 2006 Order [26] is amended to
provide as follows:

              3. The ends of justice have been served by granting such motion and
      outweigh the interests of the public and the defendant in a speedy trial. The
      additional time arising as a result of the granting of the motion, i.e., the time
      between September 12, 2006 and October 11, 2006, shall be deemed excludable
      time in any computation of time under the requirement of the Speedy Trial Act for
      the reason defendant's counsel required additional time to adequately prepare the
      case, taking into consideration due diligence of counsel, and the novelty and
      complexity of this case. The failure to grant additional time might result in a
      miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).

      DATED September 19, 2006.

                                            BY THE COURT:

                                            s/ F.A. Gossett
                                            United States Magistrate Judge
